        Case 2:16-cr-00017-DLC Document 127 Filed 12/07/16 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                                                                       FILED
                      FOR THE DISTRICT OF MONTANA                       °K 072016
                                  BUTTE DIVISION
                                                                     •*$*a-
 UNITED STATES OF AMERICA,                           CR16-17-BU-DLC


                     Plaintiff,
                                                       FINDINGS AND
        vs.                                        RECOMMENDATION
                                                    CONCERNING PLEA
 LINDSEY KRYSTELLE HUDSON,

                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of the possession with the intent to

distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1), as set

forth in Count II of the Indictment. In exchange for Defendant's plea, the United

States has agreed to dismiss Count I of the Indictment.

      Afterexamining the Defendant under oath, I have made the following

determinations:


      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature of the charge against her and

consequences of pleading guilty to the charge,
Case 2:16-cr-00017-DLC Document 127 Filed 12/07/16 Page 2 of 2
